Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

 

Case number (if known) Chapter 7

 

C) Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4i16

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number {if known).
For more information, a separate document, instructions for Bankruptey Forms for Non-individuals, is available.

1. Debtor's name §13 Central Park LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed ;
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

7 Wellington Road
Locust Valley, NY 11560

 

 

 

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Nassau Location of principal assets, if different from principal
County place of business

 

Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL)

 

 

6. Type of debtor Ml Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
CO Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Debtor §43 Central Park LLC

Name

7. Describe debtor's business

Case number (if known)

 

A. Check one:

C1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
a Single Asset Real Estate (as defined in 11 U.S.C, § 101(51B))
C Railroad (as defined in 11 U.S.C. § 101(44))

[) Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C, § 101(6))

[1 Clearing Bank (as defined in 11 U.S.C. § 781(3))

[ None of the above

B. Check alf that apply

1 Tax-exempt entity (as described in 26 U.S.C. §501)

D1 Investment company, including hedge fund or pooled investment vehicte (as defined in 15 U.S.C. §80a-3)
C] Investment advisor (as defined in 15 U.S.C. §80b-2(a}(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See hittp:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:
HZ Chapter 7
CJ Chapter 9

( Chapter 11. Check aif that apply:

[Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

(1 The debtor is a smail business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

C Aplan is being filed with this petition.

O Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

C1 The debtor is required to file periodic reports (for example, 10K -and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

[The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
C1 Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

a No.
CI Yes.

District When Case number

District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1, ,
attach a separate list

am No
Cl Yes.

Debtor Relationship

 

District When Case number, if known

 

Official Form 201

Voluntary Petition for Non-Individuais Filing for Bankruptcy page 2
Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Debtor —_§13 Central Park LLC Case number (if known)

 

Name

11. Why is the case filed in Check all that apply:

this district? a .
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

O oA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Doesthedebtorownor if No
have possession of any
real property or personal
property that needs
immediate attention? Why does the property need immediate attention? (Check aif that apply.)

O Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

(1 It needs to be physically secured or protected from the weather.

1 it includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

C] Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
ts the property insured?
CI No

Ol Yes. Insurance agency

 

Contact name

 

Phone

 

 

ma Statistical and administrative information

 

13. Debtor's estimation of . Check one:

il f “gs :
available funds C Funds will be available for distribution to unsecured creditors.

W@ After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

 

14, Estimated number of MI 4.49 CT] 1,000-5,000 [1] 25,001-50,000
creditors C 50-99 [7] 5001-10,000 C1 50,001-100,000

2 100-199 CU 10,001-25,000 C1 More than100,000
2) 200-999

15. Estimated Assets C] $0 - $50,000 ME $1,000,001 - $10 million C1 $500,000,004 - $1 billion
F) $50,001 - $100,000 [ $10,000,001 - $50 million CF $1,000,000,001 ~- $10 billion
[1 $100,001 - $500,000 CI $50,000,004 - $100 million CF $10,000,000,004 - $50 billion
ON $500,001 - $1 million C1 $100,000,004 - $500 miflion CJ] More than $50 billion

16. Estimated liabilities 4 $0 - $50,000 OF $1,000,001 - $10 million CX $500,000,001 - $1 billion
C1 $50,001 - $100,000 Ml $10,000,004 - $50 million CO $1,000,000,001 - $10 billion
Oo $100,001 - $500,000 oO $50,000,001 - $100 million Oo $10,000,000,001 - $50 billion
DF) $500,001 - $1 million [1] $100,000,001 - $500 million [J More than $50 billion

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Case number (if known)

 

Debtor 513 Central Park LLC

Name

P| Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statoment in connection with a bankruptcy case can result in fines up fo $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3871.

17. Declaration and signature
of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is trued and correct.

i declare under penalty of perjury that the foregoing is true and correct.

Executed on Ve O )-O|

 

 

o MM /DDIYYYY
xX “FH ‘ hy : Eve Winston
Signature of authorized representative of debtor Printed name

Tile Managing Menthol

x Date 0 [oe org

La t attorney for debtor MM /DDIYYYY

 

18. Signature of attorney

 

Ken eth Kirschenbaum

(Pate name

Kirschenbaum & Kirschenbaum P.C.
Firm name

200 Garden City Plaza

Suite 315

Garden City, NY 11530

Number, Street, City, State & ZIP Code

ken@kirschenbaumesq-com/sspector@kirschen
Contact phone 516-747-6700 Emailaddress baumesq.com

1137686 NY
Bar number and State

page 4
Kru tc’
Vv i etition or Non Individuals iling

Official Form 201
Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Fill in this Information to identify the case:

Debiorname §13 Central Park LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number (if known)
(1 Check if this is an

amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12s

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other docurnent that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9014. :

WARNING -- Bankruptcy fraud is a serious crime, Making a false statement, concealing property, or obtaining money or property by fraud in

conrection with a bankruptcy case can result in fines up to $800,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

Jam the president, another officer, or an authorized agent of the corporation: a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/8: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Farm 208D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 208E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 208G)

Schedule H: Codebiars (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 17 or Chapter 9 Cases: List of Creditors Who Have ithe 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration |

 

OOOOoOnoog

 

| declare under penalty of pesjury that the foregoing is true and garr

Executed on G 6 Hl? x

Signgfure of individual signing on behaif of debtor

Eve Winston
Printed name

Managing Member
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Fill in this information to identify the case:

Debtorname 5413 Central Park LLC

 

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (if known)
(Q Check if this is an
amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

 

1a. Real property:
Copy line 88 from Schedule A/B.....scescsscsesscssssessessssssssssessussesssesanasssssasessasusssasesssussasesasssosarsentiuesstessiseeseecesesesese. $ 9,000,000.00

1b. Total personal property: 00
Copy line 914 from Schedule A/B..uesscscssssssessusssscsnssssssssssssssssessnssssssenseestissssssssnesessuepagsssestesvegsuuuunecssssssssse $ 0.

1c. Total of all property:

 

 

 

 

 

Copy line 92 from Schedule A/B.....ccccssssssssssssessscesssssenssssasscansesassisecssssvessssssssssiesstsseasssssivescsasiresttersessesceeseese $ 9,000,000.00
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of SChedUIO Dicecccecssseetcecesseeteeee $ 32,145,294.18
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims: 0.00
Copy the total claims from Part 1 from line 5a of SCHEdUIE E/E. ..cccccccccccseccssscccscseccssssssesecsvascsvecs esstsecesscsseccesee. $ :
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......cccccsccccccsccsssscssssscecseccocecssee +$ 0.00
4, Total liabilities oo. ceeccsesssccsessssesscssecssevecssssecssuvesssssessassusosssavesssusvesssstassassasecssstecsasvevasssuuseussssescsstticestessesveseeseeee
Lines 2 + 3a + 3b $ 32,145,294.18
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Fill in this information to identify the case:

Debtorname 5413 Central Park LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)
(1 Check if this is an

amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12118

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G),

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1, Does the debtor have any cash or cash equivalents?

HE No. Go to Part 2.

TC Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

a Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

 

M@ No. Go to Part 3.
CI Yes Fill in the information below.

Accounts receivable
10. Does the debtor have any accounts receivable?

ME No. Go to Part 4.
0 Yes Fill in the information below.

Investments

13. Does the debtor own any investments?

HE No. Go to Part 5.
C1 Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

MI No. Go to Part 6.
O Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)
27, Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and tand)?

MI No. Go to Part 7.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
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Debtor 513 Central Park LLC Case number (if known)

Name

C1 Yes Fill in the information below,

Office furniture, fixtures, and equipment; and collectibles

 

 

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

MI No. Go to Part 8.
C1 Yes Fill in the information below.

Pease Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

ME No. Go to Part 9.
QO Yes Fill in the information below.

Real property

 

54. Does the debtor own or lease any real property?

C1 No. Go to Part 10.
@ Yes Fill in the information below.

§5. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used
property ' extent of debtor's interest for current value
Include street address or other debtor's interest (Where available)
description such as Assessor in property

Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if
available.
55.1. Apartment located at
768 Fifth Avenue
a/k/a One Central
Park South, Unit 513,
New York, NY 10019 _Fee Owner $0.00

Current value of
debtor's interest

$9,000,000.00

 

56. Total of Part 9.

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
BNo
O Yes

58, Has any of the property listed in Part 9 been appraised by a professional within the last year?

MNo
0 Yes

ec lean LO Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

WE No. Go to Part 11.
0 Yes Fill in the information below.

Part 11: All other assets

 

 

$9,000,000.00

 

 

 

70. Does the debtor own any other assets that have not yet been reported on this form?

Official Form 206A/B Schedule A/B Assets - Real and Personal Property

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page 2

Best Case Bankruptcy
Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Debtor §13 Central Park LLC Case number (if known)

 

Name
Include all interests in executory contracts and unexpired leases not previously reported on this form.

MNo. Go to Part 12.
O Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
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Case o-ly-/4loy-ast Doc l Filed OO/O//ly centered Vo/Osily Llolooile

Debtor 513 Central Park LLC

Name

Part. 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81,
82.
83.
84,
85.

86.

87.

88.

89.

90.

91.

92,

Official Form 206A/B

Case number (if known)

 

 

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy fine 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4,

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part Qo... ccecccccscssssssessssesssssesscsassvens

intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Current value of
personal property

$0.00

$0.00
$0.00
$0.00
$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

Current value of real

property

 

 

$9,000,000.00

 

 

 

Total. Add lines 80 through 90 for each column

 

$0.00

 

+ O1b.

 

$9,000,000.00

 

 

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Schedule A/B Assets - Real and Personal Property

 

 

$9,000,000.00

 

 

page 4

Best Case Bankruptcy
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Fillin this information to identify the case:

Debtorname 513 Central Park LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number (if known)

 

({] Check if this is an
amended filing

 

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
C1 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

Mf Yes. Fill in all of the information below.
List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.

Column B
Value of collateral

Column A
Amount of claim

that supports this

 

 

 

 

 

Do not deduct the value claim
of collateral.
[2.4 | Board of Managers Describe debtor's property that is subject to a lien $49,241.87 $9,000,000.00
Creditors Name Apartment located at 768 Fifth Avenue a/k/a
of the Plaza Condominium One Central Park South, Unit 513, New York,
c/o FirstService NY 10019
PO Box 302
Emerson, NJ 07630
Creditor’s mailing address Describe the lien
Maintenance
\s the creditor an insider or related party?
_ oe. Bi no
Creditor's email address, if known OC ves
Is anyone else liable on this claim?
Date debt was incurred Mino
2018 O Yes, Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
ONo Cl Contingent
Ves. Specify each creditor, CO Untiquidated
including this creditor and its relative O Disputed
priority.
1. Private Capital Funding
Co LLC
2. Private Capital Funding
Co LLC
3. Ronald Frankel
4, Board of Managers
5. NYC Department of
Finance
22 NYC Department of
“ | Finance Describe debtor's property that is subject to a lien $350,908.35 $9,000,000.00

 

 

 

 

Credilor's Name

1 Centre Street
New York, NY 10007

Creditor's mailing address

Official Form 206D
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Apartment located at 768 Fifth Avenue a/k/a
One Central Park South, Unit 513, New York,
NY 10019

Describe the tien

Real Property Taxes
Is the creditor an insider or related party?

Mino

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 3
Best Case Bankruptcy
Case o-ly-/4lo3-ast

Debtor 513 Central Park LLC

2.3

 

Name

 

Creditar’s email address, if known

Date debt was incurred

Last 4 digits of account number

“Do multiple creditors have an
interest in the same property?

C1 No

a Yes. Specify each creditor,
including this creditor and its relative
priority.

Specified on line 2.1

Private Capital Funding Co
LLC

Creditors Name

fikia Ginsburg & Misk
Funding Co LLC

215-48 Jamaica Avenue

Queens Village, NY 11428

Creditor's mailing address

Creditor’s email address, if known

Date debt was incurred
3/11
Last 4 digits of account number

1307
Do multiple creditors have an
interest in the same property?

C1 No
Mi Ves, Specify each creditor,

Case number (if know)

Doc. Fued Qo/O//1y Entered OO/O//1LY Lolsoile

 

0 Yes

Is anyone else liable on this claim?

BM Nno

C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check ali that apply

C1 contingent
O unliquidated
Cj Disputed

Describe debtor's property that is subject to a lien $3,799,669.83
Apartment located at 768 Fifth Avenue a/k/a

One Central Park South, Unit 513, New York,

NY 10019

Describe the lien

Mortgage

Is the creditor an insider or related party?
Mino

Cl ves

Is anyone else liable on this claim?
CI No
Mf ves, Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check all that apply

Oo Contingent
0 unliquidated

$9,000,000.00

 

 

 

 

 

 

including this creditor and its relative Oo Disputed
priority.
Specified on line 2.1
4 | Private Capital Funding Co
“ILLe Describe debtor's property that is subject to a lien $1,509,052.83 $9,000,000.00
Creditor's Name Apartment located at 768 Fifth Avenue a/k/a
fikfa Ginsburg & Misk One Central Park South, Unit 513, New York,
Funding Co LLC NY 10019
215-48 Jamaica Avenue
Queens Village, NY 11428
Creditor's mailing address Describe the lien
Mortgage
Is the creditor an insider or related party?
Mo
Creditor's email address, if known CJ yes
Is anyone else liable on this claim?
Date debt was incurred CINo
12/11 MI Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
1307
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 3

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Best Case Bankruptcy
Case o-ly-/4loy-ast Doc 1

Debtor 543 Central Park LLC

Fied Oo/O/ily Entered OO/O//1y9 Loliooild

Case number (if know)

 

 

Name
CI No CO Contingent
MM Ves. Specify each creditor, D1 unliquidated
including this creditor and ils relative Oo Disputed
priority.
_Specified on line 2.1

 

2.5 | Ronald Frankel
Creditors Name

New York, NY 10022

Creditors mailing address

Describe debtor's property that is subject to a lien $26,436,421.30 $9,000,000.00

Apartment located at 768 Fifth Avenue a/k/a

. One Central Park South, Unit 513, New York,
731 Lexington Avenue NY 10019

 

Describe the lien
Mortgage

Is the creditor an insider or related party?

ME No

 

Creditor’s email address, if known Q Yes
ts anyone else liable on this claim?

Date debt was incurred

CI No

MH Yes. Fill out Schedule H: Codebfors (Official Form 206H)

Last 4 digits of account number

 

Do multiple creditors have an

interest in the same property? Check all that apply
[No OD contingent

Wt Ves. Specify each creditor, CD unliquidated
including this creditor and its relative oO Disputed
priority.

Specified on line 2.1

3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. 18

As of the petition filing date, the claim is:

 

$32,145,294.

 

 

 

List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

 

 

 

 

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity
Richard H Dolan Esq
Schlam Stone & Dolan LLP Line 2.5
26 Broadway
New York, NY 10004
Zeichner Ellman & Krause LLP
1211 Avenue of the Americas Line _2.3_
New York, NY 10036
Zeichner Ellman & Krause LLP
1211 Avenue of the Americas Line 2.4
New York, NY 10036
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 3

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Fill in this information to identify the case:

Debtorname 543 Central Park LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)
() Check if this is an

amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12145

Be as complete and accurate as possible. Use Part ( for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 4 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List Alf Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

WF No. Go to Part 2.
C1 Yes. Go to line 2,

GENER List All Creditors with NONPRIORITY Unsecured Claims
3. List in alphabetical! order all of the creditors with nonpriority unsecured claims. {f the debtor has more than 6 creditors with nonpriority unsecured claims, fill
out and attach the Additional Page of Part 2.
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply.
CI contingent
d ; CD unliquidated
ate or dates debt was incurred Oo Disputed

Last 4 digits of account number : .
— Basis for the claim:

Is the claim subject to offset? C1 No Cl Yes

 

GETTER List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts

 

 

 

 

Sa. Total claims from Part 4 5a. $ 0.00
5b. Total claims from Part 2 5b. + $ 0.00
5c. Total of Parts 1 and 2 0.00
Lines 5a + 5b = 5c, Se. § :
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 1

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Fill in this information to identify the case:

Debtorname 513 Central Park LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (if known)
O) Check if this is an
amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
MI No. Check this box and file this form with the debtor's other schedules, There is nothing else to report on this form.

C1 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2, List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.2 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.3 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.4 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 4
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Case o-ly-/4lo3-ast

Fill in this information to identify the case:

Debtor name

United States Bankruptcy Court for the:

513 Central Park LLC

Doc 1 Filed Vo/O//1y

 

Case number (if known)

EASTERN DISTRICT OF NEW YORK

 

 

Official Form 206H

Schedule H: Your Codebtors

 

entered Vo/O//19 Loliooild

(1 Check if this is an

amended filing

12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the

Additional Page to this page.

1. Do you have any codebtors?

0 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

Byes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. in Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor

Column 2: Creditor

 

 

 

 

Name Mailing Address Name Check all schedules
that apply:

2.1 Eve Winston 768 Fifth Avenue Private Capital MD 23
a/kla One Central Park South Funding Co LLC DEF
Unit 513 oc —
New York, NY 10019 —

2.2 Eve Winston 768 Fifth Avenue Private Capital MD 24
a/kila One Central Park South Funding Co LLC OF
Unit 513 os —
New York, NY 10019 —

2.3 Eve Winston 768 Fifth Avenue Ronald Frankel Bp 25
afkfa One Central Park South Cer
Unit 543 Oe —
New York, NY 10019 _

24 Eve Winston 768 Fifth Avenue Board of Managers Ob
a/k/a One Central Park South OE/F
Unit 513 oc
New York, NY 10019

Official Form 206H Schedule H: Your Codebtors Page 1 of 2

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Debtor 513 Central Park LLC Case number (if known)

 

na Additional Page to List More Codebtors
Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1; Codebtor Column 2: Creditor
2.5 Eve Winston 768 Fifth Avenue NYC Department of OD
alkfa One Central Park South Finance DEF
Unit 513 Oc

New York, NY 10019

 

Official Form 206H Schedule H: Your Codebtors Page 2 of 2
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Fill in this information to identify the case:

Debtorname 513 Central Park LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (if known)
(0 Check if this is an

amended filing

 

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/16

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Income

1. Gross revenue from business

 

 

CO None.
Identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and
exclusions)

From the beginning of the fiscal year to filing date: Ml Operating a business $0.00
From 1/01/2019 to Filing Date

C1 Other
For prior year: @ Operating a business $0.00
From 1/01/2018 to 12/31/2018

C1 Other
For year before that: Ml Operating a business $0.00
From 1/04/2017 to 12/31/2017

C1 Other

 

2. Non-business revenue
Include revenue regardiess of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

Mf None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425, (This amount may be adjusted on 4/01/19
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Mf None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4, Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1

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Debior 513 Central Park LLC Case number (if known)

 

or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

M@ None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller, Do not include property listed in line 6.

MI None
Creditor's name and address Describe of the Property Date Value of property
6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account

of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

Mi None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

GZIKEE legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

 

C None.
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1.- Private Capital Funding Co Foreclosure Supreme Court MM Pending
LLC v Debtor Action State of New York C1 On appeal
C] Concluded
7.2. Ronald Frankel v Debtor Foreclosure Supreme Court M Pending
Action State of New York 1 on appeal
O Concluded

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

M@ None

GENZRM Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

Hi None
Recipient's name and address Description of the gifts or contributions Dates given Value
Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 2

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Debtor 5413 Central Park LLC Case number (if known)

Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Hi None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

If you have received payments to cover the loss, for
example, from insurance, government compensation, or
fort lability, list the total recelved.

List unpaid claims on Official Form 106A/B (Schedule
AB: Assets — Real and Personal Property).

GEE Certain Payments or Transfers

11. Payments related to bankruptcy :
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

C1 None.
Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Kirschenbaum &
Kirschenbaum P.C.
200 Garden City Plaza
Suite 315
Garden City, NY 11530 $3,265.00 legal fee plus $335.00 filing fee 8/20/18 $3,600.00

 

Email or website address

 

Who made the payment, if not debtor?

 

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

Wi None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement /
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

MI None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14, Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used,
WI Does not apply

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3

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Debtor 513 Central Park LLC Case number (if known)
Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
~ providing any surgical, psychiatric, drug treatment, or obstetric care?

HM No. Go te Part 9.
O Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services lf debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

HM No.
(Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

M No. Go to Part 10.
C] Yes. Does the debtor serve as plan administrator?

mmr Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor's benefit, closed, sold,

moved, or transferred?
Include checking, savings, money market, or other financial accounts: certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

@ None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.

HI None

Depository institution name and address Names of anyone with Description of the contents Do you still
access to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

HM None
Facility name and address Names of anyone with Description of the contents Do you still
access to it have it?
Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 4

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Debtor 543 Central Park LLC Case number (if known)

 

 

clan Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

M None

EERE Details About Environment Information

 

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, ora
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M No.

Cl Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

EH No.

Cl sYes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

@ No.

C] Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

mimeo Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

M@ None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case,

HI None
Name and address Date of service
From-To
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5

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Debtor 5413 Central Park LLC Case number (if known)

 

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

Mf None

6c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

M None

Name and address if any books of account and records are
unavailable, explain why

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

HI None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

Ml No

CI Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28, List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people ~~
in control of the debtor at the time of the filing of this case.

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

M No
C] Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

EH No
Cl] Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

HM No
O Yes. Identity below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

M No
CO Yes. Identify below.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6

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Debtor 513 Central Park LLC _ _. Case number (if known) _.

Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has. the debtor been a member of any consolidated group for tax purposes?

@ No
(Yes. Identify below.
Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

@ No
C] Yes. identify below.
Name of the pension fund Employer Identification number of-the parent
corporation

ZGRESE Signature and Declaration _

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case Gan result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

I declare under pengity / perjury that the foregoing is true and correct.
Executed “f) 6 ¢ if 7.

. (aX
. _Eve Winston
Signaturé“6f individual signing on behaif of the debtor Printed name

    
 

Position or relationship to debtor Managing Member cbc oe

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
MNo
O Yes

Oificial Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 7

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Eastern District of New York

Inte _513 Central Park LLC Case No,
Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 3,265.00
Prior to the filing of this statement I have received $ 3,265.00
Balance Due $ 0.00

 

2. The source of the compensation paid to me was:

O Debtor M Other (specify): Other Party

3. The source of compensation to be paid to me is:

CO] Debtor M Other (specify): Other Party
4, Mi | have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

CI Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

tA

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptey;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:

. [Other provisions as needed]

Bes

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Debtor has entered into a written retainer agreement setting forth adtlitional fesse
CERTIFICATION /7

I certify that the foregoing is a complete statement of any agreement or arrangém
this bankruptcy proceeding.

ole lr
Date Kenneth Kirschenbaum
Slguditure of Attorney
Kirschenbaum & Kirschenbaum P.C.
200 Garden City Plaza
Suite 315
Garden City, NY 11530
516-747-6700
ken@kirschenbaumesq.com/sspector@kirschenbaume
sq.com
Name of law firm

 

   

for payment to me for representation of the debtor(s) in

 

 

 

 

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United States Bankruptcy Court
Eastern District of New York

Inre _ 5413 Central Park LLC Case No.
Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.

   

Date: ch lhe

 

Eve Winstgf/M aging Member
Signer/Tjtle

SigMatureof Attorney
nneth Kirschenbaum
irséhenbaum & Kirschenbaum P.C.

200 Garden City Piaza
Suite 315

Garden Gity, NY 11530
516-747-6700

 

Date: clelir

USBC-44 Rev, 9/17/98

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Board of Managers

of the Plaza Condominium
c/o FirstService

PO Box 302

Emerson NJ 07630

Eve Winston

768 Fifth Avenue

a/k/a One Central Park South
Unit 513

New York NY 10019

Eve Winston

768 Fifth Avenue

a/k/a One Central Park South
Unit 513

New York NY 10019

Eve Winston

768 Fifth Avenue

a/k/a One Central Park South
Unit 513

New York NY 10019

Eve Winston

768 Fifth Avenue

a/k/a One Central Park South
Unit 513

New York NY 10019

Eve Winston

768 Fifth Avenue

a/k/a One Central Park South
Unit 513

New York NY 10019

NYC Department of Finance
1 Centre Street
New York NY 10007

Private Capital Funding Co LLC
£/k/a Ginsburg & Misk Funding Co LLC
215-48 Jamaica Avenue

Queens Village NY 11428
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Private Capital Funding Co LLC
f/k/a Ginsburg & Misk Funding Co LLC
215-48 Jamaica Avenue

Queens Village NY 11428

Richard H Dolan Esq
schlam Stone & Dolan LLP
26 Broadway

New York NY 10004

Ronald Frankel
731 Lexington Avenue
New York NY 10022

Zeichner Ellman & Krause LLP
1211 Avenue of the Americas
New York NY 10036

Zeichner Ellman & Krause LLP
1211 Avenue of the Americas
New York NY 10036
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United States Bankruptcy Court

Inre _ 513 Central Park LLC

Eastern District of New York

Case No.
Debtor(s) Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the J udges to evaluate possible disqualification or
recusal, the undersigned counsel for _513 Central Park LLC __ in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

M@ None [Check if applicable]

6lé [1

Date

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KennethMjfschenbaum

Signature of Attorney or Litigant

Counsel for 613 Central Park LLC

Kirschenbaum & Kirschenbaum P.C.

200 Garden City Plaza

Suite 315

Garden City, NY 11530

516-747-6700
ken@kirschenbaumesq.com/sspector@kirschenbaumesq.com

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

 

DEBTOR(S): _513 Central Park LLC CASE NO.:.

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (1) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

M NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

CO THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING (Y/N): Uf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): [if closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING (Y/N): [f closed] Date of closing:
(OVER)

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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): __Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.

Z—

Kenneth Kjfschénbaum
Signature ebtor's Attorney Signature of Pro Se Debtor/Petitioner

Kirschenbaum & Kirschenbaum P.C.
200 Garden City Plaza

Suite 315

Garden City, NY 11530 Signature of Pro Se Joint Debtor/Petitioner
516-747-6700

 

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

Xx

In re:

513 CENTRAL PARK LLC, Chapter 7
Case No.
Debtor.
no X

 

STATEMENT PURSUANT TO EDNY LOCAL BANKRUTPCY RULE 2017-1

I, Kenneth Kirschenbaum, Esq. an attorney admitted to practice in this Court, state:

That I am the attorney for the above named debtor and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the

above-named debtor:

 

 

 

 

 

 

 

Date Services Amount | Attorney
Of Hours

8/20/18 Initial interview, analysis of financial condition and rendering advice and 25 KK
assistance to the Debtor in determining whether to file a chapter 7 petition ,

8/20/18 Review all documentation provided by the Debtor in anticipation of 7 SRS
preparing bankruptcy petition, collect further information from Debtor

8/21/18 Preparation of the petition, schedules, statement of financial affairs and the 45 SRS
other documents required by the Court

8/24/18 Review and revise petition, schedules, statement of financial affairs and the 3 SRS
other documents required by the Court

6/6/19 | Meet with debtor, update petition and schedules 2 SRS

 

 

 

 

Dated: & Gf14

That my firm will also represent the debtor at the first meeting of creditors.

4, That all services rendered prior to the filing of the petition herein were rendered by my firm.

That my usual rate of compensation of bankruptcy matters of this type is $500 per hour.

That Stacy Spector’s usual rate of compensation of bankruptcy matters of this type is $400 per
hour.

  
   
  
 

That my firm will provide the chapter 7 trustee with j and documents as requested.

 

Kepfieth Kirschenbaum, Esq. (1137686)
orney for the Debtor

Kirschenbaum & Kirschenbaum, P.C.
200 Garden City Plaza, Suite 315
Garden City, New York 11530
516.747.6700

 
